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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
                                 CIVIL MINUTES -
                                    GENERAL


 Case No.       2:20-cv-00406-SSS-JCx                              Date    January 9, 2025
 Title     Francesca Gregorini v. Apple, Inc., et al.


 Present: The Honorable        SUNSHINE S. SYKES, UNITED STATES DISTRICT JUDGE
               Irene Vazquez                                         RS-CS2
                Deputy Clerk                                       Court Reporter
   Attorney(s) Present for Plaintiff(s):                Attorney(s) Present for Defendant(s):
           Patrick M. Arenz                                  Cydney Swofford Freeman
             Emily E. Niles                                      Brittany B. Amadi
             Annie Huang                                         Nicolas A. Jampol
        Prateek N. Viswanathan                                   Heath A. Brooks
                                                                   Carl Mazurek

Proceedings:       HEARING RE: PRETRIAL MATTERS

      Counsel state their appearances. The Court confers with counsel regarding the
pretrial issues as stated on the record. The Court takes a recess to allow the parties
to meet and confer regarding the remaining issues with the verdict form and jury
instructions.

      The matter is recalled in the afternoon, at which time the Court addresses the
updated verdict form and jury instructions. The Court informs the parties that a
final draft of the jury instructions will be distributed tomorrow, January 10, 2025.

         IT IS SO ORDERED.




                                                                                         Time: 2:24
                                                                             Initials of Preparer: iv
